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                 Exhibit 10
   Declaration of Sabrina Malecek
           (Jul. 17, 2023)
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                 UNITED STATES DISTRICT COURT, DISTRICT OF MONTANA
                                   BUTTE DIVISION

            THE IMPERIAL SOVEREIGN COURT
            OF THE STATE OF MONTANA; ADRIA
            JAWORT; RACHEL CORCORAN; THE
            MONTANA BOOK COMPANY; IMAGINE
            BREWING COMPANY, LLC d/b/a                            Cause No. CV 23-50-BU-
            IMAGINE NATION BREWING                                        BMM
            COMPANY; BUMBLEBEE AERIAL
            FITNESS; MONTANA PRIDE; THE
            WESTERN MONTANA COMMUNITY                             Declaration of Sabrina
            CENTER; THE GREAT FALLS LGBTQ+                          Malecek, owner of
            CENTER; THE ROXY THEATER; and                        Bumblebee Aerial Fitness
            THE MYRNA LOY,

                                               Plaintiffs,
                              vs.

              AUSTIN KNUDSEN; ELSIE ARNTZEN;
              J.P. GALLAGHER; and the CITY OF
              HELENA,

                                               Defendants.
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            I, Sabrina Malecek, declare as follows:

            1.       I am a resident of Helena, Montana.

            2.       I own Bumblebee Aerial Fitness, a fitness studio for all

                     community members over the age of 14. We offer over a dozen

                     different classes specific to skill level and age group.

            3.       I operate Bumblebee Aerial Fitness under my maiden name,

                     Sabrina Harding.

            4.       Bumblebee Aerial Fitness is Helena's only circus studio, with a

                     focus on pole fitness, silks hammock, and aerial hoop (lyra).

            5.       I am a licensed XPERT-certified instructor and I previously

                     trained at Polecats Aerial Fitness in Las Vegas, Nevada; The

                     Dollhouse Fitness, in San Diego, California; and at Club B-FIT in

                     Des Moines, Iowa.

            6.       My instructors and I are the only XPERT Certified Instructors in

                     the state of Montana.

            7.       Bumblebee Aerial Fitness is a safe space for all individuals and

                     identities.




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            8.       Bumblebee Aerial Fitness is active and beloved within the

                     community. Bumblebee Aerial Fitness typically teaches 26 classes

                     per week and sees anywhere from 2040 clients per week.

            9.       Bumblebee Aerial Fitness and I regularly assist with other artistic

                     and theatrical performances in the Helena community.

            10.      In April, 2023, Bumblebee Aerial Fitness provided the performers

                     and equipment for the aerial performance during “Charlotte’s

                     Web” at Carroll College.

            11.      This past spring, Bumblebee Aerial Fitness provided performers,

                     equipment, and training to bring the magic of “Matilda” to life at

                     the Grandstreet Theatre,

            12.      Bumblebee Aerial Fitness regularly provides models for figure

                     drawing classes at the Holter Musuem of Art, and performs for the

                     public at Lewis & Clark Brewery.

            13.      Bumblebee Aerial Fitness emphasizes the benefits of art in

                     building, cultivating, and creating safe spaces within our

                     community.

            14.      Bumblebee Aerial Fitness has been invited to perform at Montana

                     Pride.


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            15.      For the safety of our performers, we must wear costumes that are

                     skin-tight in some areas of the body and provide some skin

                     exposure in others; regardless, we wear more clothing than the

                     U.S. Olympic Beach volleyball team.

            16.      We teach mediums of fitness that are designed to instill and

                     inspire confidence in the dancer. There is nothing inherently

                     sexual about aerial fitness.

            17.      HB 359 has opened the door for rampant discrimination against

                     non-traditional fitness based on outdated and untrue stereotypes.

            18.      While there is nothing inherently sexual about our performances,

                     clients of Bumblebee Aerial Fitness are concerned they could be

                     arrested or fined based on obscene interpretations of their skillset

                     and hard work because of HB 359.

            19.      In 5 years of operation before the passage of HB 359, Bumblebee

                     Aerial Fitness had never had a performance canceled or

                     indefinitely postponed.

            20.      However, in the wake of HB 359, a climate of fear created has

                     diminished our ability to operate and perform.




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            21.      Bumblebee Aerial Fitness was previously invited to model on our

                     poles for a drawing class at Ascension Brewery in Helena, MT.

                     That event was canceled because of HB 359.

            22.      Bumblebee Aerial Fitness was previously invited to perform at the

                     Rodney Street Block party in Helena, MT, but after the passage of

                     HB 359, the Rodney Street Block organizers backed out.

            23.      As a small, locally owned business, cancellations of our

                     performances have an incredibly detrimental effect on both our

                     profitability and reputation.

            24.      Beginner-level performance opportunities, typically modeling

                     classes, have disappeared as organizations have reacted to the

                     potential repercussions of HB 359.

            25.      The absence of these beginner-level performances is detrimental

                     to both our business and our athletes because it restricts our

                     ability to exhibit our work and impinges on our freedom of

                     expression.

            26.      We rely on performances to bring in new clientele. As

                     performances decrease, we could see our clientele stop growing

                     and possibly diminish.


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            I declare under penalty of perjury that the foregoing is true and correct.

            DATED this 17th day of July, 2023.




                                                             Sabrina Malecek




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            Declaration of Sabrina Malecek
